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FORM 6 (ND/SD MISS. DEC. 2016)




                                   UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF MISSISSIPPI



Tony Weathersby                           Plaintiff

 v.                                                            CIVIL ACTION      3:24cv00015CWR-FKB
                                                               NO.


LexisNexis Risk Solutions Inc., et a
                                          Defendant

                        APPLICATION FOR ADMISSION PRO HAC VICE

                                   Albert G. Lin
 (A)     Name:
                                   Baker Hostetler LLP
         Firm Name:


                                   200 S. Civic Center Drive, Suite 1200
         Office Address:
                                   Columbus                                OH                 43215
         City:                                                    State                 Zip
                                   614-462-4732                          614-462-2616
         Telephone:                                               Fax:
                                   alin@bakerlaw.com
         E-Mail:


                                   Nationwide Mutual Insurance Company
 (B)     Client(s):
                                   3 Nationwide Plz.
         Address:
                                   Columbus                                OH                 43215
         City:                                                    State                 Zip

         Telephone:                                               Fax:


         The following information is optional:



                                                      1
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
             Have you had a prior or continuing representation in other matters of one or more of the
             clients you propose to represent, and is there a relationship between those other matter(s) and
             the proceeding for which you seek admission?


                 






             Do you have any special experience, expertise, or other factor that you believe makes it
             particularly desirable that you be permitted to represent the client(s) you propose to represent
             in this case?

                 






     (C)     I am admitted to practice in the:
                      ✔                       Ohio
                                     State of _____________

                                     District of Columbia

             and I am currently in good standing with that Court. A certificate to that effect, issued by
             the appropriate licensing authority within ninety days of the date of this Application, is
             enclosed; the physical address, telephone number and website/email address for that
             admitting Court are:

              The
                 Supreme Court
                                of Ohio
              65 S. Front Street
              Columbus, Ohio 43215
              (614)
                   387-9000
              www.supremecourt.ohio.gov
                 

                 


             
             All other courts before which I have been admitted to practice:




                                                            2
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               Jurisdiction                                                    Period of Admission


    United States District Court Northern Dist. of California                  06/04/02
    United States District Court Central Dist. of California                   11/22/02
    United States District Court Northern Dist. of Ohio                        09/04/12
    United States District Court Southern Dist. of Ohio                        08/11/05
    U.S. Court of Appeals, Sixth Circuit                                       10/14/04
    U.S. Court of Appeals, Ninth Circuit                                       12/29/20
    U.S. Court of Appeals, Eleventh Circuit                                    03/24/20




                                                                                          Yes        No
     (D)        Have you been denied admission pro hac vice in this state?                 0         0
     


                Have you had admission pro hac vice revoked in this state?                 0         0

                Has Applicant been formally disciplined or sanctioned by any court
                in this state in the last five years?                                      0         0

         If the answer was “yes,” describe, as to each such proceeding, the nature of the allegations, the
         name of the person or authority bringing such proceedings; the dates the proceedings were initiated
         and finally concluded; the style of the proceedings; and the findings made and actions taken in
         connection with those proceedings:

               





                                                                                          Yes        No
     (E)        Has any formal, written disciplinary proceeding ever been
                brought against you by a disciplinary authority in any other
                jurisdiction within the last five years?                                   0         0




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                 If the answer was “yes,” describe, as to each such proceeding, the nature of the
                 allegations; the name of the person or authority bringing such proceedings; the
                 date the proceedings were initiated and finally concluded; the style of the
                 proceedings; and the findings made and actions taken in connection with those
                 proceedings.





                                                                                           Yes      No
     (F)         Have you been formally held in contempt or otherwise
                 sanctioned by any court in a written order in the last five years          0         0
                 for disobeying its rules or orders?

                 If the answer was “yes,” describe, as to each such order, the nature of the allegations,
                 the name of the court before which such proceedings were conducted; the date of the
                 contempt order or sanction, the caption of the proceedings, and the substances of the
                 court’s rulings (a copy of the written order or transcript of the oral rulings must be
                 attached to the application).





     (G)             Please identify each proceeding in which you have filed an application to proceed
                    pro hac vice in this state within the preceding two years, as follows:
                 

       Name and Address of Court                         Date of               Outcome of Application
                                                         Application




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     (H)        Please identify each case in which you have appeared as counsel pro hac vice in
                this state within the immediately preceding twelve months, are presently appearing
                as counsel pro hac vice, or have pending applications for admission to appear pro
                hac vice, as follows:

     Name and Address of Court                   Style of Case





                                                                                        Yes       No
     (I)        Have you read and become familiar with all the LOCAL
                UNIFORM CIVIL RULES OF THE UNITED STATES DISTRICT
                COURTS FOR THE NORTHERN AND SOUTHERN DISTRICTS OF                         0       0
                MISSISSIPPI?

                Have you read and become familiar with the MISSISSIPPI RULES
                OF PROFESSIONAL CONDUCT?                                                  0       0


     (J)     Please provide the following information about the resident attorney who has been
             associated for this case:


    Name and Bar Number              Eugene Carlos Tanner, III (Mississippi Bar Number 102713)

    Firm Name:        TANNER & ASSOCIATES, LLC

    Office Address: 263 E. Pearl Street

                                     City: Jackson                    State: MS      Zip: 39201

                                     Telephone: 601.460.1745          Fax: 662.796.3509

    Email address: carlos.tanner@thetannerlawfirm.com

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